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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION


MICHAEL W. BRANNIES,                                 )
                                                     )
               Plaintiff,                            )
                                                     )
vs.                                                  ) Case No. 4:14-CV-00155-WTM-GRS
                                                     )
INTERNET ROI, INC. D/B/A AMERICAN                    )
OVERLOOK,                                            )
                                                     )
               Defendant.


                                           ANSWER

       NOW COMES Internet ROI, Inc. (“Defendant”) and files its Answer to the Complaint

filed by Plaintiff Michael W. Brannies as follows:

                                      FIRST DEFENSE

       The Complaint fails to state a claim against Defendant upon which relief can be granted.

                                     SECOND DEFENSE

       The Complaint should be dismissed for lack of jurisdiction over Defendant.

                                      THIRD DEFENSE

       The Complaint should be dismissed because venue is improper.

                                     FOURTH DEFENSE

       The Complaint should be dismissed for insufficiency of service of process.

                                      FIFTH DEFENSE

       The Complaint should be dismissed to the extent that Plaintiff’s claims are barred by

applicable limitations periods.



                                      SIXTH DEFENSE
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          The Complaint should be dismissed because Defendant had a right to publish the

Plaintiff’s image, as the result of an express, unrevoked written license to do so, granted to

Defendant by a third-party with whom Plaintiff had contracted.

                                       SEVENTH DEFENSE

          Defendant affirmatively alleges that Plaintiff contracted with a third-party whereby he

agreed to the publication of his image on the Internet. Consequently, Plaintiff has waived his

rights to enforce against Defendant any right to damages in this case.

                                        EIGHTH DEFENSE

          The Complaint should be dismissed to the extent that Plaintiff failed to fully comply with

or reasonably attempt to comply with his s duty to mitigate damages.

                                         NINTH DEFENSE

          The Complaint should be dismissed to the extent that Plaintiff seeks equitable remedies

but comes to the Court with unclean hands and is otherwise barred by concepts of fairness and

equity.

                                         TENTH DEFENSE

          The Complaint should be dismissed because Defendant at all times complied with

applicable laws, and acted reasonably and in good faith.

                                      ELEVENTH DEFENSE

          An award of punitive damages against Defendant would violate Defendant’s due process

rights guaranteed by the Fourteenth Amendment to the United States Constitution and by Article

I, Section I, Paragraph I of the Constitution of Georgia of 1983.

                                       TWELFTH DEFENSE

          Within seven days of receiving Plaintiff’s written demand, Defendant removed Plaintiff’s

image from its website and issued a conspicuous retraction and correction regarding its previous

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publication. Plaintiff is thus statutorily barred from receiving punitive damages in connection

with the allegedly libelous publication of his image in this matter. O.C.G.A. § 51-5-11.

                                  THIRTEENTH DEFENSE

        Subject to and without waiving the above-stated defenses, Defendant answers the

numbered paragraphs of Plaintiff’s Complaint as follows:

        1.      Defendant lacks knowledge or information sufficient to form a belief regarding

the truth of the allegations contained in Paragraph 1 of Plaintiff’s Complaint and therefore denies

the same.

        2.      Defendant admits that it is a Massachusetts corporation. Defendant further admits

that, from June 2012 to July 2, 2014, Alissa Cole was its Registered Agent. Defendant denies

the remainder of the allegations contained in Paragraph 2 of Plaintiff Complaint.

        3.      Defendant admits the allegations contained in Paragraph 3 of Plaintiff’s

Complaint.

        4.      Defendant incorporates its foregoing responses to Paragraphs 1 through 3 as if

fully set forth herein.

        5.      Defendant admits the allegations contained in Paragraph 5 of Plaintiff’s

Complaint to the extent it alleges Defendant published an image of Plaintiff on its website.

Defendant denies the remainder of the allegations contained in Paragraph 5 of Plaintiff’s

Complaint.

        6.      Defendant admits that on its page was a video, which video speaks for itself.

Defendant lacks knowledge or information sufficient to form a belief regarding whether

“Plaintiff had nothing to do with this incident and was not involved in the matter whatsoever”

and therefore denies the remainder of the allegations contained in Paragraph 6 of Plaintiff’s



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Complaint.

        7.      Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s

Complaint.

        8.      Defendant admits the allegations contained in Paragraph 8 of Plaintiff’s

Complaint to the extent it broadly alleges that access to the Internet is widely available.

Defendant denies the remainder of the allegations contained in Paragraph 8 of Plaintiff’s

Complaint.

        9.      Defendant denies the allegations contained in Paragraph 9 of Plaintiff’s

Complaint.

        10.     Defendant denies the allegations contained in Paragraph 10 of Plaintiff’s

Complaint.

        11.     Defendant admits that it obtained a copy of the photograph of Plaintiff from

Shutterstock, Inc. Defendant denies the remainder of the allegations contained in Paragraph 11

of Plaintiff’s Complaint.

        12.     Defendant incorporates its foregoing responses to Paragraphs 1 through 11 as if

fully set forth herein.

        13.     Defendant denies the allegations contained in Paragraph 13 of Plaintiff’s

Complaint.

        14.     Defendant denies the allegations contained in Paragraph 14 of Plaintiff’s

Complaint.

        15.     Defendant denies each and every other allegation of Plaintiff’s Complaint not

specifically admitted herein, denies that it committed any act or omitted to perform any act

giving rise to the imposition of liability of damages against it, and denies that Plaintiff is entitled



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to any relief against Defendant, including that specifically prayed for in Plaintiff’s Complaint.

       This 21st day of July, 2014.


                                      HUNTER, MACLEAN, EXLEY & DUNN, P.C.


                                      /s/ Rachel Young Fields
                                      Shawn A. Kachmar
                                      Georgia Bar Number 405723
                                      Rachel Young Fields
                                      Georgia Bar Number 747407
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION


MICHAEL W. BRANNIES,                                   )
                                                       )
               Plaintiff,                              )
                                                       )
vs.                                                    ) Case No. 4:14-CV-00155-WTM-GRS
                                                       )
INTERNET ROI, INC. D/B/A AMERICAN                      )
OVERLOOK,                                              )
                                                       )
               Defendant.


                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and foregoing ANSWER

upon all parties to this matter by depositing a true copy of same in the U.S. Mail, proper postage

prepaid, properly addressed to the following:

Dwight T. Feemster                                  Tom A. Edenfield
Duffy & Feemster                                    217 W. York Street
Post Office Box 10144                               Savannah, Georgia 31401
Savannah, Georgia 31412




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      This 21st day of July, 2014


                                    Respectfully submitted,
                                    HUNTER, MACLEAN, EXLEY & DUNN, P.C.


                                    /s/ Rachel Young Fields
                                    Shawn A. Kachmar
                                    Georgia Bar No. 405723
                                    Rachel Young Fields
                                    Georgia Bar No. 747407
                                    Attorneys for Defendant


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